            Case 2:10-cv-01823-JLR Document 457 Filed 10/04/12 Page 1 of 5




 1                                                           The Honorable James L. Robart

 2

 3

 4

 5

 6                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8   MICROSOFT CORPORATION, a Washington
     corporation,                                 CASE NO. C10-1823-JLR
 9

10                              Plaintiff,        DECLARATION OF STUART W.
                                                  YOTHERS IN SUPPORT OF
11                v.                              DEFENDANTS’ MOTIONS IN LIMINE

12                                                NOTE ON MOTION CALENDAR:
     MOTOROLA, INC., and MOTOROLA                 Friday, October 19, 2012
     MOBILITY LLC, and GENERAL
13
     INSTRUMENT CORPORATION,
14
                                Defendants.
15

16   MOTOROLA MOBILITY LLC, and
     GENERAL INSTRUMENT CORPORATION,
17

18           Plaintiffs/Counterclaim Defendant,

19                v.
20   MICROSOFT CORPORATION,
21
             Defendant/Counterclaim Plaintiff.
22

23

24

25

26


     DECLARATION OF STUART W. YOTHERS IN SUPPORT OF          SUMMIT LAW GROUP PLLC
     DEFENDANTS’ MOTIONS IN LIMINE                            315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. C10-1823-JLR                                     SEATTLE, WASHINGTON 98104-2682
                                                                    Telephone: (206) 676-7000
                                                                       Fax: (206) 676-7001
              Case 2:10-cv-01823-JLR Document 457 Filed 10/04/12 Page 2 of 5




 1          I, STUART W. YOTHERS, declare as follows:

 2          1.     I am an associate at the law firm of Ropes & Gray LLP, counsel to Motorola, Inc.

 3   (now Motorola Solutions, Inc.), Motorola Mobility, LLC, and General Instrument Corporation

 4   (collectively “Motorola”), Defendants in this action, and am a member in good standing of the

 5   bars of the Commonwealth of Massachusetts and State of New York.

 6          2.     I submit this declaration in support of Defendants’ Motions in Limine, submitted

 7   concurrently herewith.

 8          1.     Attached as Exhibit 1 is a true and correct copy of the August 10, 2012 Rebuttal

 9   Report of Matthew R. Lynde, Ph.D., Pursuant to Rule 26(a)(2)(B) (filed under seal).                    This

10   document was previously submitted to the Court as Exhibit 46 to the September 5, 2012 Second

11   Declaration of Samuel L. Brenner In Support of Motorola Mobility’s and General Instrument’s

12   Opposition to Microsoft’s Rule 702 Motion to Preclude Testimony By Charles R. Donohoe and

13   Dr. R. Sukumar (Dkt. No. 392), and was ordered sealed by the Court (Dkt. No. 432).

14          2.     Attached as Exhibit 2 is a true and correct copy of excerpts of the transcript of the

15   deposition of Matthew R. Lynde, Ph.D., which was taken under oath in San Francisco, California,

16   on August 31, 2012 (filed under seal). The entire document from which these excerpts are drawn

17   was previously submitted to the Court as Exhibit 38 to the September 5, 2012 Second Declaration

18   of Samuel L. Brenner In Support of Motorola Mobility’s and General Instrument’s Opposition to

19   Microsoft’s Rule 702 Motion to Preclude Testimony By Charles R. Donohoe and Dr. R. Sukumar

20   (Dkt. No. 392), and was ordered sealed by the Court (Dkt. No. 432).

21          3.     Attached as Exhibit 3 is true and correct copy of excerpts of the August 10, 2012

22   Rebuttal Expert Report of Kevin M. Murphy (filed under seal).

23          4.     Attached as Exhibit 4 is a true and correct copy of the transcript of the deposition

24   of Kevin M. Murphy, which was taken under oath in Chicago, Illinois, on August 31, 2012 (filed

25   under seal). This document was previously submitted to the Court as Exhibit 39 to the September

26   5, 2012 Second Declaration of Samuel L. Brenner In Support of Motorola Mobility’s and General


     DECLARATION OF STUART W. YOTHERS IN SUPPORT OF                    SUMMIT LAW GROUP PLLC
     DEFENDANTS’ MOTIONS IN LIMINE - 1                                     315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. C10-1823-JLR                                                  SEATTLE, WASHINGTON 98104-2682
                                                                                 Telephone: (206) 676-7000
                                                                                    Fax: (206) 676-7001
              Case 2:10-cv-01823-JLR Document 457 Filed 10/04/12 Page 3 of 5




 1   Instrument’s Opposition to Microsoft’s Rule 702 Motion to Preclude Testimony By Charles R.

 2   Donohoe and Dr. R. Sukumar (Dkt. No. 392), and was ordered sealed by the Court (Dkt. No. 432).

 3          5.     Attached as Exhibit 5 is a true and correct copy of the August 10, 2012 Expert

 4   Report of Peter Rossi. This document was previously submitted to the Court as Exhibit 60 to the

 5   September 5, 2012 Second Declaration of Samuel L. Brenner In Support of Motorola Mobility’s

 6   and General Instrument’s Opposition to Microsoft’s Rule 702 Motion to Preclude Testimony By

 7   Charles R. Donohoe and Dr. R. Sukumar (Dkt. No. 392).

 8          6.     Attached as Exhibit 6 is a true and correct copy of the transcript of the deposition

 9   of Peter E. Rossi, which was taken under oath in San Francisco, California, on August 30, 2012.

10   Two pages (pages 7-8) were marked as “confidential,” and have been redacted. This document

11   was previously submitted to the Court as Exhibit 47 to the September 5, 2012 Second Declaration

12   of Samuel L. Brenner In Support of Motorola Mobility’s and General Instrument’s Opposition to

13   Microsoft’s Rule 702 Motion to Preclude Testimony By Charles R. Donohoe and Dr. R. Sukumar

14   (Dkt. No. 392).

15          7.     Attached as Exhibit 7 is a true and correct copy of excerpts of the July 24, 2012

16   Expert Report of Matthew R. Lynde, Ph.D., Pursuant to Rule 26(a)(2)(B) (filed under seal).

17          8.     Attached as Exhibit 8 is a true and correct copy of a September 18, 2003

18   presentation delivered to Motorola containing details of InteCap’s 2003 study, and bearing Bates

19   numbers MOTO-MS-000237724-48 (filed under seal).

20          9.     Attached as Exhibit 9 is a true and correct copy of excerpts of the March 20, 2012

21   deposition of K. McNeill Taylor, Jr., which was designated Highly Confidential and which was

22   taken under oath in New York, NY (filed under seal). The entire deposition transcript from which

23   these pages are excerpted was previously submitted to the Court as Exhibit 1 to the March 30,

24   2012 Declaration of Kevin J. Post in Support of Defendants’ Motion for Partial Summary

25   Judgment (Dkt. No. 230), and was ordered sealed by the court (Dkt. No. 294).

26


     DECLARATION OF STUART W. YOTHERS IN SUPPORT OF                    SUMMIT LAW GROUP PLLC
     DEFENDANTS’ MOTIONS IN LIMINE - 2                                   315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. C10-1823-JLR                                                SEATTLE, WASHINGTON 98104-2682
                                                                               Telephone: (206) 676-7000
                                                                                  Fax: (206) 676-7001
              Case 2:10-cv-01823-JLR Document 457 Filed 10/04/12 Page 4 of 5




 1          10.     Attached as Exhibit 10 is a true and correct copy of the August 10, 2012 Rebuttal

 2   Expert Report of Michael J. Dansky (filed under seal).

 3          11.     Attached as Exhibit 11 is a true and correct copy of excerpts (highlighted by

 4   counsel) of the April 10, 2012 deposition of Amy A. Marasco, which was designated Highly

 5   Confidential, and which was taken under oath in Seattle, Washington (filed under seal).

 6          12.     Attached as Exhibit 12 is a true and correct copy of excerpts (highlighted by

 7   counsel) of the April 4, 2012 deposition of Horacio E. Gutierrez, which was designated Highly

 8   Confidential - Attorneys' Eyes Only, and which was taken under oath in Seattle, Washington (filed

 9   under seal).

10          I declare under penalty of perjury of the laws of the United States and the State of

11   Washington that the foregoing is true and correct.

12          DATED this 4th day of October, 2012.

13
                                                                   /s/ Stuart W. Yothers
14                                                                     Stuart W. Yothers
15

16

17

18

19

20

21

22

23

24

25

26


     DECLARATION OF STUART W. YOTHERS IN SUPPORT OF                    SUMMIT LAW GROUP PLLC
     DEFENDANTS’ MOTIONS IN LIMINE - 3                                   315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. C10-1823-JLR                                                SEATTLE, WASHINGTON 98104-2682
                                                                               Telephone: (206) 676-7000
                                                                                  Fax: (206) 676-7001
              Case 2:10-cv-01823-JLR Document 457 Filed 10/04/12 Page 5 of 5




 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF system which will send notification of such filing to the following:
 3
                                    Arthur W. Harrigan, Jr., Esq.
 4                                  Christopher T. Wion, Esq.
                                    Shane P. Cramer, Esq.
 5                                  Calfo Danielson, Harrigan, Leyh & Eakes LLP
                                    arthurh@calfoharrigan.com
 6
                                    chrisw@calfoharrigan.com
 7                                  shanec@calfoharrigan.com

 8                                  Richard A. Cederoth, Esq.
                                    Brian R. Nester, Esq.
 9                                  David T. Pritikin, Esq.
                                    Douglas I. Lewis, Esq.
10                                  John W. McBride, Esq.
                                    David Greenfield, Esq.
11                                  William H. Baumgartner, Jr., Esq.
                                    David C. Giardina, Esq.
12                                  Carter G. Phillips, Esq.
                                    Constantine L. Trela, Jr., Esq.
13                                  Ellen S. Robbins, Esq.
                                    Nathaniel C. Love, Esq.
14                                  Sidley Austin LLP
                                    rcederoth@sidley.com
15                                  bnester@sidley.com
                                    dpritikin@sidley.com
16
                                    dilewis@sidley.com
17                                  jwmcbride@sidley.com
                                    david.greenfield@sidley.com
18                                  wbaumgartner@sidley.com
                                    dgiardina@sidley.com
19                                  cphillips@sidley.com
                                    ctrela@sidley.com
20                                  erobbins@sidley.com
                                    nlove@sidley.com
21
                                    T. Andrew Culbert, Esq.
22                                  David E. Killough, Esq.
                                    Microsoft Corp.
23                                  andycu@microsoft.com
                                    davkill@microsoft.com
24

25          DATED this 4th day of October, 2012.
                                                                        /s/ Marcia A. Ripley
26                                                                         Marcia A. Ripley

     DECLARATION OF STUART W. YOTHERS IN SUPPORT OF                        SUMMIT LAW GROUP PLLC
     DEFENDANTS’ MOTIONS IN LIMINE - 4                                      315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. C10-1823-JLR                                                   SEATTLE, WASHINGTON 98104-2682
                                                                                  Telephone: (206) 676-7000
                                                                                     Fax: (206) 676-7001
